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15                               IN THE UNITED STATES DISTRICT COURT
16                                 EASTERN DISTRICT OF CALIFORNIA
17   UNITED FARM WORKERS, et al.,                      No. 1:25-cv-00246-JLT-CDB
18                 Plaintiffs,                         DEFENDANTS’MOTION TO DISMISS AND
19                                                     MEMORANDUM IN SUPPORT PURSUANT
                           v.
                                                       TO FED. R. CIV. P. 12(b)(1) and (b)(6)
20   KRISTI NOEM, Secretary of the United States
     Department of Homeland Security, et al.,          Date: August 25, 2025
21                                                     Time: 9:00 a.m.
                   Defendants.                         Place: Courtroom 4, 7th Floor
22                                                     Judge: Hon. Jennifer L. Thurston
23
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28
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 1                          NOTICE OF MOTION AND MOTION TO DISMISS

 2          PLEASE TAKE NOTICE that, on Monday August, 25 2025, at 9:00 a.m., in the Courtroom of

 3 the Honorable Jennifer L. Thurston, Defendants, Kristi Noem, Secretary of the Department of Homeland
 4 Security, Rodney S. Scott, in his official capacity as Commissioner of U.S. Customs and Border
 5 Protection, Micheal W. Banks, Chief of U.S. Border Patrol, and Gregory K. Bovino, Chief Patrol Agent
 6 for El Centro Sector of the U.S. Border Patrol, will respectfully move this Court for an order dismissing
 7 this action pursuant to Federal Rules of Civil Procedure 12(b)(1), for lack of subject matter jurisdiction,
 8 and Rule 12(b)(6), for failure to state a claim.
 9          This motion is made upon this Notice, the attached Memorandum of Points and Authorities, and

10 all pleadings, records, and other documents on file with the Court in this action, and upon such oral
11 argument as may be presented at the hearing of this motion. Defendants also make this motion after
12 counsel for the parties conferred via Teams pursuant to this Court’s Standing Order. Although counsel
13 for Defendants had not finalized their arguments at the time of the conference, counsel for Defendants
14 advised counsel for the Plaintiffs that Defendants’ Motion to Dismiss would include similar arguments,
15 which were previously raised in its opposition to Plaintiffs’ preliminary injunction, that is, mootness and
16 jurisdictional issues. That Teams conference call took place on Friday July 11, 2025, at 12:30 p.m. EST.
17 Plaintiff’s counsel confirmed that Plaintiff would oppose Defendants’ Motion to Dismiss.
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     MOTION TO DISMISS
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 1    Dated: July 14, 2025                 Respectfully submitted,

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 1                            MEMORANDUM OF POINTS AND AUTHORITIES

 2                                                 INTRODUCTION
 3           This Court should dismiss Plaintiffs’ Complaint in its entirety. Plaintiffs seek classwide
 4
     prospective injunctive and declaratory relief to remedy for what they allege is a “policy, pattern and/or
 5
     practice” of violating the Fourth and Fifth Amendment and 8 U.S.C. § 1357. See generally Compl. They
 6
     base their pattern and practice claims on alleged events that occurred in a single operation conducted by
 7
 8 U.S. Border Patrol (“USBP”) over three days in the Eastern District of California. See Complaint
 9 (“Compl.”) at 1-2, 43, 64-67 ¶¶ 3, 236-39, 326-50. However, these allegations are insufficient to confer
10 standing for the prospective injunctive and declaratory relief they seek. The named Plaintiffs cannot
11
     demonstrate an imminent threat of future injury and, rather, their claims rely on speculation. Moreover,
12
     United Farm Workers (“UFW”) cannot establish associational standing because its members lack
13
     standing themselves, and the Plaintiffs’ claims require extensive individual participation, making them
14
15 unsuitable for collective litigation. Even if Plaintiffs did have standing to seek prospective relief, their
16 claims are moot because USBP has taken considerable steps to reaffirm their commitment to comply
17 with the law including issuing guidance relevant to Plaintiffs’ claims and training their agents.
18           Finally, even if this Court finds it has jurisdiction, it should still dismiss Plaintiffs’ class
19 allegations because Plaintiffs fail to state a claim for relief, which can be granted. First, with respect to
20 Plaintiffs’ Fifth Amendment claim (Claim IV), Plaintiffs have not identified a protected liberty interest
21 nor have they identified that they were prejudiced, which are both required for Plaintiffs to prevail on
22 this constitutional claim. In any event, however, the whole Complaint should be dismissed under Rule
23 12(b)(6) because none of the three putative classes that Plaintiffs propose can be certified. Plaintiffs’
24 Suspicionless Stop and Warrantless Arrest Classes are fatally overbroad because named Plaintiffs
25 Cisneros’s and Esquivel’s claims are exclusively the subject of administrative process and petitions for
26 review filed in the court of appeal. Plaintiffs’ Voluntary Departure Class, meanwhile, predominately
27 requires individualized analysis of members’ claims.
28
     MOTION TO DISMISS
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 1                                               BACKGROUND1

 2         Between January 7, 2025, and January 9, 2025, United States Border Patrol, El Centro Sector,

 3 conducted an interior operation in Kern County, California, to locate and arrest individuals identified as
 4 criminal undocumented aliens. On February 26, 2025, Plaintiffs filed a Complaint for declaratory and
 5
     injunctive relief alleging that, over the course of this operation, USBP engaged in a “pattern and
 6
     practice” of violating the Fourth and Fifth Amendment and 8 U.S.C. § 1357. Specifically, Plaintiffs
 7
     allege that USBP agents engaged in a pattern and practice of race-based stops of warrantless arrests
 8
 9 without assessing flight risk. Compl. at ¶¶ 1-3, 236, 239, 326-45 (Claims I, II, and III). Plaintiffs further
10 allege that, after USBP transferred arrestees to the El Centro Station, USBP agents engaged in a pattern
11 and practice of coercing them into accepting voluntary departure to Mexico. Compl. at ¶¶ 234, 242-45
12
     (Claim IV).
13
           On March 7, 2025, Plaintiffs filed a motion for preliminary injunction seeking to enjoin Border
14
     Patrol from conducting further operations in violation of the Fourth Amendment and 8 U.S.C.
15
16 § 1357(a)(2). See generally ECF 15, 15-1. Plaintiffs specifically argued that Border Patrol should adopt
17 guidance on assessing flight risk and reasonable suspicion that is in line with the “Broadcast Statement
18 of Policy,” guidance, which was issued in Castanon Nava v. DHS, No. 1:18-cv-03757 (N.D. Ill., Feb. 7,
19 2022), which generally provides that Immigration and Customs Enforcement (“ICE”) officers who make
20
     a warrantless arrest are to document the facts and circumstances surrounding the warrantless arrest as
21
     soon as practicable and requires ICE to train its agents on these requirements. See ECF 15-1 at 16-17;
22
     see also Compl., App. A. Plaintiffs also sought reporting on stops and arrests conducted by USBP in this
23
24 district and petitioned the Court to order USBP to train agents within 90 days of the Court’s order on
25
     1
26  Defendants refer herein to the allegations in the Complaint, acknowledging that the Court must
   consider those allegations in the light most favorable to Plaintiff on this 12(b)(6) motion to dismiss. See
27 Erickson v. Pardus, 551 U.S. 89, 94 (2007). Those references do not, however, constitute a concession
   by Defendants that those allegations are accurate representations of the facts.
28
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 1 various reasonable suspicion requirements. See ECF 15 at 2. Defendants opposed, citing guidance (a
 2 “Muster”) USBP issued on April 4, 2025, addressing the requirements for assessing flight risk and
 3 reasonable suspicion for vehicle stops, as well as the need to document the reasons for these stops and
 4
     arrests as soon as practicable, and committing to training its approximately 900 agents on the Muster.
 5
     See Ex. E. On March 7, 2025, Plaintiffs also moved to provisionally certify a Suspicionless Stop Class
 6
     and a Warrantless Arrest Class. See ECF No. 14. Defendants also opposed that motion arguing Plaintiffs
 7
 8 had not satisfied the requirements of Rule 23(a) or Rule 23 (b)(2). See generally ECF No. 32.
 9         On April 29, 2025, the Court granted Plaintiffs’ motions. See ECF No. 47. The Court enjoined
10 Border Patrol from conducting detentive stops in the absence of reasonable suspicion of unlawful
11
     presence and effecting warrantless arrests without considering flight risk, which includes assessing
12
     factors such as community ties. Id. at 86-87. The Court also ordered that Border Patrol agents must
13
     document the facts and circumstances surrounding each stop, whether vehicular or on foot, as soon as
14
15 practicable and document the facts and circumstances surrounding each arrest as soon as practicable. Id.
16 The Court ordered that Border Patrol must also (1) release to Plaintiffs’ counsel documentation on
17 Border Patrol’s detentive stops and warrantless arrests in E.D. Cal. (within 60 days and every 60 days
18 thereafter), (2) serve on Plaintiffs’ counsel a directive setting forth guidance on determining “reasonable
19
     suspicion” when conducting vehicular and pedestrian stops, including that refusal to answer questions
20
     does not, without more, justify reasonable suspicion in E.D. Cal. (within 60 days), and (3) serve on
21
     Plaintiffs’ counsel documentation showing that they have trained Border Patrol agents charged with
22
23 making detentive stops and warrantless arrests in E.D. Cal. on the “requirements articulated above”
24 (within 90 days and every 30 days thereafter until all agents are trained). Id. at 87-88
25         On June 17, 2025, consistent with this Court’s order and in addition to its April 4, 2025, Muster,
26 USBP issued a second Muster discussing factors to consider when assessing reasonable suspicion in all
27
     contexts, not just vehicle stops. Ex. B. The Muster adds that an individual’s refusal to answer questions
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 1 does not, by itself, constitute reasonable suspicion, and that in areas where Hispanic individuals are
 2 common, an individual’s apparent Hispanic race or ethnicity is not a relevant factor for reasonable
 3 suspicion. Id. On July 11, 2025, USBP also issued a Voluntary Return Muster (“VR Muster”). Ex. C.
 4
     The VR muster is aimed at resolving the allegations in Plaintiffs’ Complaint. Specifically, it reminds
 5
     USBP of the foundational principle that “Voluntary Return must be made knowingly, intelligently, and
 6
     voluntarily” without coercion or pressure. To ensure that any voluntary return is knowing and voluntary,
 7
 8 the Muster instructs officers to (1) provide aliens with an opportunity to read the Notice of Rights and
 9 Advisals on the Form I-826 and confirm understanding of the form with the alien, (2) provide the alien
10 with an opportunity to consult with counsel prior to electing voluntary return, including providing the
11
     alien with a list of free and low-cost legal services (3) whenever an agent goes over the Form in digital
12
     format, the agent should also provide the alien with a physical copy of the Form, (4) fully document the
13
     process provided to the alien, (5) and allow the alien to can cancel his or her election of voluntary return
14
15 up until the moment of repatriation. Id.
16                                           LEGAL BACKGROUND

17      A. Reasonable Suspicion
18          Border Patrol must have reasonable suspicion of an immigration violation before executing a
19
     stop. United States v. Brignoni-Ponce, 422 U.S. 873, 881-84 (1975). There are a number of factors
20
     Border Patrol can consider in assessing reasonable suspicion including the characteristic appearance of
21
     persons who live in Mexico such as the mode of dress and haircut. Id. at 885. However, Border Patrol
22
23 cannot base a stop on race alone, particularly Hispanic ethnicity. Id. at 885-86. Even when considered
24 amongst other factors, “Hispanic appearance is, in general, of such little probative value that it may not
25 be considered as a relevant factor where particularized or individualized suspicion is required.” United
26 States v. Montero-Camargo, 208 F.3d 1122, 1135 (9th Cir. 2000). Proximity to the border is also a
27
     factor in determining whether reasonable suspicion exists. Id. at 885. However, “Brignoni-Ponce does
28
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 1 not imply agents cannot stop cars over 100 miles from the border or need more than reasonable
 2 suspicion for a stop.” United States v. Venzor-Castillo, 991 F.2d 634, 638 (10th Cir. 1993). Rather, in
 3 considering whether an agent had reasonable suspicion for an investigative stop, the court must consider
 4
     the totality of the circumstances including the agent’s training and experience. See United States v.
 5
     Valdes-Vega, 738 F.3d 1074, 1080 (9th Cir. 2013). Officers require “far less” information to make a
 6
     stop based on reasonable suspicion than what is required to arrest an individual based on probable cause.
 7
 8 Id.; Brignoni-Ponce, 422 U.S. at 881 (same).
 9       B. Warrantless Arrests
10          Under the INA, immigration officials are authorized to perform the warrantless arrest of:
11
            [A]ny alien in the United States, if he has reason to believe that the alien so arrested is in
12          the United States in violation of any such law or regulation and is likely to escape before a
            warrant can be obtained for his arrest, but the alien arrestee shall be taken without
13          unnecessary delay . . . before an officer of the Service having authority to examine aliens
            as to their right to enter or remain in the United States.
14
15 8 U.S.C. § 1357(a)(2); see Abel v. United States, 362 U.S. 217, 232-37 (1960) (discussing longstanding
16 administrative arrest procedures in deportation cases) (emphasis added). “Reason to believe” has been
17 equated with the constitutional requirement of probable cause. Tejeda-Mata v. I.N.S., 626 F.2d 721, 725
18 (9th Cir. 1980) (internal citations omitted). Thus, “[t]o justify an arrest [without a warrant], officers
19
     must have probable cause based on the facts available to them at that time for the arrest.”. United States
20
     v. Shepherd, No. 2:24-CR-00083-DJC-1, 2024 WL 4931677, at *5 (E.D. Cal. Dec. 2, 2024).
21
            The implementing regulations similarly explain that a warrantless arrest “shall be made only
22
23 when the designated immigration officer has reason to believe that the person to be arrested has
24 committed an offense against the United States or is an alien illegally in the United States” and “has
25 reason to believe that the person is likely to escape before a warrant can be obtained.” 8 C.F.R.
26 § 287.8(c)(2)(i)-(ii). Furthermore, an immigration officer must have reasonable suspicion of an
27
     immigration violation before performing a detentive stop without an arrest. 8 C.F.R. § 287.8(b)(2).
28
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 1      C. Voluntary Departure

 2          “An administrative ‘voluntary departure’ under the statute is something that occurs with the
 3 permission of the Attorney General in lieu of removal proceedings.” Vasquez-Lopez v. Ashcroft, 343
 4
     F.3d 961, 974 (9th Cir. 2003). “Voluntary return’ is a term of art for ‘administrative voluntary
 5
     departure,’ a process whereby an alien can leave the country without formal removal proceedings.”
 6
     Maria S. as Next Friend for E.H.F. v. Garza, 912 F.3d 778, 782 n. 2 (5th Cir. 2019) (citing 8 U.S.C.
 7
 8 § 1229c(a)(1)). An alien may elect and be granted voluntary return if he or she has not been convicted of
 9 an aggravated felony. 8 U.S.C. § 1229c(a)(1).
10          Voluntary return may not be granted unless the alien requests it and agrees to its terms and
11
     conditions. See 8 C.F.R. § 240.25(c). An alien permitted to voluntarily depart the country must be
12
     informed of the penalties for failing to depart under 8 U.S.C. § 1229c(d). De Martinez v. Ashcroft, 374
13
     F.3d 759, 762 (9th Cir. 2004) (citing 8 U.S.C. § 1229c(d)). Penalties include potential civil monetary
14
15 penalty and being ineligible for a period of 10 years for certain relief from removal. See 8 U.S.C.
16 § 1229c(d). An alien unlawfully present in the United States for more than 180 days and less than one
17 year and who departs the United States is inadmissible for a period of three years, and an alien
18 unlawfully present in the United States for one year or more and who departs or is removed from the
19
     United States is inadmissible for a period ten years. 8 U.S.C. § 1182(a)(9)(B)(i)(I)-(II).
20
        D. Class Certification
21
            A party seeking class certification must satisfy the four elements of Rule 23(a), which provides
22
23 that:
24              (1) the class is so numerous that joinder of all members is impracticable, (2) there are
                    common questions of law and fact, (3) the representative party’s claims or defenses
25                  are typical of the class claims or defenses, and (4) the representative party will fairly
                    and adequately protect the class interests.
26
27 Justus v. Doerer, No. 1:25-CV-00138-JLT-SAB (PC), 2025 WL 811145, at *1 (E.D. Cal. Mar. 13,
28 2025) (citing Fed. R. Civ. P. 23(a)). The party seeking certification must also satisfy one of the elements
     MOTION TO DISMISS
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 1 of Fed. R. Civ. P. 23(b), specifically here, subsection (2) where “the party opposing the class has acted
 2 or refused to act on grounds that apply generally to the class, so that final injunctive relief or
 3 corresponding declaratory relief is appropriate respecting the class as a whole[.]” Gonzalez v. United
 4
     States Immigr. & Customs Enf’t, 975 F.3d 788, 812 (9th Cir. 2020). Although rare, courts retain
 5
     discretion to dismiss or strike a class at the pleading stage, in advance of a motion for certification, if the
 6
     Complaint demonstrates the proposed class is facially defective. Vinole v. Countrywide Home Loans,
 7
 8 Inc., 571 F.3d 935, 942 (9th Cir. 2009) (“District courts have broad discretion to control the class
 9 certification process, and whether or not discovery will be permitted”) (cleaned up).
10                                          STANDARDS OF REVIEW
11
         A. Federal Rule of Civil Procedure 12(b)(1)
12
            A district court must dismiss an action if it lacks subject matter jurisdiction. See Fed. R. Civ. P.
13
     12(b)(1). Because federal courts are courts of limited jurisdiction, it is “presumed that a cause lies
14
15 outside of this limited jurisdiction, and the burden of establishing the contrary rests upon the party
16 asserting jurisdiction.” Vacek v. United States Postal Serv., 447 F.3d 1248, 1250 (9th Cir. 2006)
17 (quoting Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994)). A Rule 12(b)(1) motion
18 may be facial, where the inquiry is confined to the allegations in the Complaint, or factual, where the
19
     court is permitted to look beyond the Complaint to extrinsic evidence. Wolfe v. Strankman, 392 F.3d
20
     358, 362 (9th Cir. 2004). Where, as here, a party raises a factual challenge to subject matter jurisdiction,
21
     the court may review other evidence to resolve the factual dispute concerning jurisdiction. Savage v.
22
23 Glendale Union High Sch., 343 F.3d 1036, 1039 n.2 (9th Cir. 2003). Challenges to a plaintiff’s Article
24 III standing are properly raised in a Rule 12(b)(1) motion because standing is required for a federal court
25 to exercise jurisdiction. See e.g., Chandler v. State Farm Mut. Auto. Ins. Co., 598 F.3d 1115, 1122 (9th
26 Cir. 2010). Mootness is also properly raised under Rule 12(b)(1). White v. Lee, 227 F.3d 1214, 1242 (9th
27
     Cir. 2000). (“Because standing and mootness both pertain to a federal court’s subject-matter jurisdiction
28
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 1 under Article III, they are properly raised in a motion to dismiss under Federal Rule of Civil Procedure
 2 12(b)(1).”).
 3      B. Federal Rule of Civil Procedure 12(b)(6)
 4
            Under Rule 12(b)(6), a motion to dismiss should be granted if the plaintiff is unable to delineate
 5
     “enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550
 6
     U.S. 544, 570 (2007). For purposes of such a motion, the Complaint is construed in a light most
 7
 8 favorable to the plaintiff and all properly pleaded factual allegations are taken as true. Jenkins v.
 9 McKeithen, 395 U.S. 411, 421 (1969); Everest & Jennings, Inc. v. American Motorists Ins. Co., 23 F.3d
10 226, 228 (9th Cir. 1994). All reasonable inferences are to be drawn in favor of the plaintiff. Jacobson v.
11
     Hughes Aircraft, 105 F.3d 1288, 1296 (9th Cir. 1997).
12
            The court does not accept as true unreasonable inferences or conclusory legal allegations cast in
13
     the form of factual allegations. Western Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981); see
14
15 Miranda v. Clark County, Nev., 279 F.3d 1102, 1106 (9th Cir. 2002) ( “conclusory allegations of law
16 and unwarranted inferences will not defeat a motion to dismiss for failure to state a claim”); Sprewell v.
17 Golden State Warriors, 266 F.3d 979, 988 (9th Cir.), opinion amended on denial of reh’g, 275 F.3d
18 1187 (9th Cir. 2001) (“Nor is the court required to accept as true allegations that are merely conclusory,
19
     unwarranted deductions of fact, or unreasonable inferences.”).
20
                                                   ARGUMENT
21
        A. Plaintiffs Lack Standing to Seek the Prospective Equitable Relief in their Complaint.
22
23          Plaintiffs lack standing to pursue prospective equitable relief because they have not demonstrated

24 that their isolated encounters with USBP are likely to recur or that they will again be subjected to any
25 unlawful conduct. “A plaintiff must demonstrate standing separately for each form of relief sought.” See
26 Friends of the Earth, Inc. v. Laidlaw Env’l Servs., Inc., 528 U.S. 167, 185 (2000). “[A] plaintiff who has
27
     standing to seek damages for a past injury, or injunctive relief for an ongoing injury, does not
28
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 1 necessarily have standing to seek prospective relief such as a declaratory judgment.” Mayfield v. United
 2 States, 599 F.3d 964, 969 (9th Cir. 2010) (citing Friends of the Earth, 538 U.S. at 185-86; City of Los
 3 Angeles v. Lyons, 461 U.S. 95, 111 (1983)). “A class of plaintiffs does not have standing to sue if the
 4
     named plaintiff does not have standing.” B.C. v. Plumas Unified Sch. Dist., 192 F.3d 1260, 1264 (9th
 5
     Cir. 1999). That is, “[u]nless the named plaintiffs are themselves entitled to seek, they may not represent
 6
     a class seeking that relief.” Hodgers-Durgin v. De La Vina, 199 F.3d 1037, 1042 (9th Cir. 1999) (en
 7
 8 banc).
 9           When a plaintiff seeks prospective equitable relief, the standing analysis involves two distinct
10 components. See Hodgers-Durgin, 199 F.3d at 1042. First, the court considers the constitutional
11
     requirements for standing, under which a plaintiff must show a credible threat of future injury that is
12
     sufficiently concrete and particularized to meet the “case or controversy” requirement of Article III. See
13
     Lyons, 461 U.S. at 101-04. Second, courts consider whether a plaintiff has established an entitlement to
14
15 prospective equitable relief. Hodgers-Durgin, 199 F.3d at 1042. “[A] past injury does not provide
16 standing to seek prospective injunctive relief ‘absent a sufficient likelihood that the plaintiff will again
17 be wronged in a similar way.’” Gonzalez v. United States Immigr. & Customs Enf’t, 975 F.3d 788, 803
18 (9th Cir. 2020) (quoting Lyons, 461 U.S. at 111) (internal alterations omitted). This means establishing
19
     the imminent threat constitutes irreparable injury. Id. (citing Lyons, 416 U.S. at 111). And, “where the
20
     named plaintiffs fail to establish imminent injury for the purposes of injunctive relief, their related
21
     claims for declaratory relief must be dismissed as unripe.” Stevens v. Harper, 213 F.R.D. 358, 367 (E.D.
22
23 Cal. 2002) (“where the named plaintiffs fail to establish imminent injury for the purposes of injunctive
24 relief, their related claims for declaratory relief must be dismissed as unripe”). Finally, “[a]ny injury
25 unnamed members . . .may have suffered is simply irrelevant to the question whether the named
26 plaintiffs are entitled to the injunctive relief they seek.” Hodgers-Durgin, 199 F.3d at 1045.
27
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 1           In this case, the named Plaintiffs have failed to show any real and immediate threat of being

 2 harmed again under the Fourth Amendment, Fifth Amendment, or § 1357. Without such a showing,
 3 their claims lack the necessary foundation, and the Complaint should be dismissed in its entirety. Each
 4
     named Plaintiff alleges a single interaction with Border Patrol agents all of which occurred over the
 5
     course of a few days in an area USBP does not frequent. See Compl. at 6-10, 15- 32, ¶¶ 27-31, 48-233.
 6
     The allegations in Plaintiffs’ Complaint amount to nothing more than speculation that they might
 7
 8 encounter USBP again and be subjected to unlawful conduct—far from the concrete and imminent harm
 9 required to establish standing. See O’Shea v. Littleton, 414 U.S. 488, 495-96 (1974) (“Past exposure to
10 illegal conduct does not in itself show a . . . case or controversy” sufficient to support a prospective
11
     injunction.). And, a “single occurrence is insufficient to establish a likelihood that the challenged action
12
     will occur again in the future.” See Lopez-Venegas v. Beers, 2013 WL 12474081, at *9 (C.D. Cal. Dec.
13
     27, 2013); see also Hodgers-Durgin, 199 F.3d at 1043 (two named plaintiffs each alleging one instance
14
15 of an injury was “patently inadequate” to show immediate irreparable injury warranting injunctive relief,
16 particularly “sweeping system-wide relief”). Rather, courts generally require multiple occurrences
17 before finding that a plaintiff has standing to seek a prospective injunction. See e.g., id.; Nicacio v. INS,
18 797 F.2d 700 (9th Cir. 1985) (“The possibility of recurring injury ceases to be speculative when actual
19
     repeated incidents are documented.), overruled on other grounds by Hodgers-Durgin, 199 F.3d at 1042.
20
     Accordingly, Plaintiffs lack standing to pursue prospective equitable relief because they have not
21
     demonstrated that their isolated encounters with USBP are likely to recur or that they will again be
22
23 subjected to any unlawful conduct.
24           Additionally, Plaintiffs’ Fifth Amendment, voluntary return claim (Claim IV) especially alleges

25 speculative injuries. Plaintiffs have alleged “a single interaction with . . . Border Patrol agents . . .
26 [where] each alleges that, during that interaction he or she was coerced into choosing voluntary
27
     departure.” Lopez-Venegas v. Beers, 2013 WL 12474081, at *9. “Each individual Plaintiff has failed to
28
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 1 allege, however, that he or she will again interact with . . . a Border Patrol agent . . . and be coerced
 2 again into accepting voluntary departure.” Id. “Indeed, for any of the individual plaintiffs to be harmed
 3 in the future,” in this way, Plaintiffs would have to: (i) either unlawfully reenter the United States or
 4
     enter lawfully and overstay their lawful admission; (ii) be encountered by Border Patrol; (iii) be detained
 5
     due to a lack of lawful presence; and (iv) be coerced by Border Patrol into choosing voluntary return,
 6
     despite knowing about the voluntary return process and the rights they could waive by accepting
 7
 8 voluntary return again. Id. The prospect that such a chain of events will happen is speculative at best and
 9 not sufficient to confer standing to seek prospective relief. Id. (citing Nelsen v. King Cnty., 895 F.2d
10 1248, 1252 (9th Cir. 1990) (“Both the Supreme Court and [the Ninth] circuit have repeatedly found a
11
     lack of standing where the litigant’s claim relies upon a chain of speculative contingencies”). Moreover,
12
     Plaintiffs have the ability to avoid unlawfully reentering the United States or overstaying a lawful
13
     admission, and therefore remain in control of the very circumstances that would trigger the speculative
14
15 chain of events they allege. See O’Shea, 414 U.S. at 497 (“We assume that respondents will conduct
16 their activities within the law and so avoid . . . the challenged course of conduct said to be followed by
17 petitioners”). Meanwhile, “[t]he severity of the claimed legal violations is not probative of the likelihood
18 that it will recur.” Lopez-Venegas, 2013 WL 12474081, at *9 n.4.
19
            The likelihood of Plaintiffs being subject to an unlawful stop, arrest, or voluntary return is rendered
20
     even more speculative by USBP’s issuance of Musters which, collectively, are aimed to ensure
21
     compliance with the law. See infra at 15-20 (citing Exs. A-E); see also Ex. F. Consequently, in the absence
22
23 of a realistic threat of future injury, Plaintiffs cannot “demonstrate a case or controversy with [Border
24 Patrol] that would justify the equitable relief sought” and this Court should dismiss the complaint. Lyons,
25 416 U.S. at 105.
26
27
28
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 1 B.         Plaintiff UFW Lacks Associational Standing. 2

 2            UFW cannot establish associational standing because its members lack standing themselves, and
 3 the Plaintiffs’ claims require extensive individual participation, making them unsuitable for collective
 4
     litigation. Thus, Plaintiffs’ inclusion of an organizational plaintiff does not preserve their claims. To
 5
     establish associational standing, an organization must establish that (1) one or more of an organization’s
 6
     members would have Article III standing to sue in their own right; (2) the interests at stake are germane
 7
 8 to the organization’s purpose; and (3) neither the claim asserted, nor the relief requested, requires
 9 participation by the individual members in the lawsuit. Friends of the Earth, 528 U.S. at 180-81.3
10            Here, however, resolving the claims in Plaintiffs’ Complaint necessarily requires the direct
11
     involvement of the individual members, underscoring yet another reason why UFW lacks associational
12
     standing. Friends of the Earth, 528 U.S. at 180-81. Determining whether the claims require participation
13
     of individual members is necessarily an assessment of whether the case involves a “pure question of
14
15 law” or, conversely, requires “an ad hoc factual inquiry” or “individualized proof” for each member.
16 Ass’n of Christian Sch. Int’l v. Stearns, 678 F. Supp. 2d 980, 985-86 (C.D. Cal. 2008), aff’d, 362 F.
17 App’x 640 (9th Cir. 2010). While declaratory and injunctive relief naturally lend themselves to
18 associational standing, such is not the case where individualized factual inquiries remain necessary to
19
     resolve the merits. Spinedex Physical Therapy USA Inc. v. United Healthcare of Arizona, Inc., 770 F.3d
20
     1282, 1293 (9th Cir. 2014) (organization lacked associational standing “[b]ecause of . . . multiple
21
     variations, specific to individual members of [the organization] . . . the violations of which [the
22
23 organization] complains are not susceptible to judicial treatment as systematic policy violations that
24 make extensive individual participation unnecessary”) (cleaned up).
25            Plaintiffs allege USBP violated the rights of UFW members demonstrating a policy, pattern or
26
     2
27       United Farm Workers does not proffer any organizational injury.
     3
     For the reasons discussed supra, the individual plaintiffs cannot establish standing for the prospective
28 relief sought in the Complaint; thus, UFW cannot establish standing. See id.; see also Supra § “A.”
     MOTION TO DISMISS
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 1 practice entitling them to prospective injunctive relief. See Compl. at 64-69. But these allegations
 2 require the Court to delve into the individual members’ experiences. See Compl. at 33-37, ¶¶ 165-94. It
 3 is therefore impossible to determine Plaintiffs’ policy, pattern, or practice claims without an
 4
     individualized analysis of whether USBP violated the law when it stopped, arrested, and processed the
 5
     voluntary return for each member. See HPG Corp. v. Aurora Loan Servs., 436 B.R. 569, 581-82 (E.D.
 6
     Cal. 2010) (denying associational standing where the organization sought declaratory and injunctive
 7
 8 relief regarding mortgage practices because adjudicating the claims would have required “individualized
 9 proof in order to both determine liability and accord relief” in connection with each member’s mortgage
10 transaction, as well as evidence concerning each member’s conduct and motives, and not “a pure issue
11
     of law”). For example, UFW alleges that their members “Alicia,” “Benjamin,” “Carlos,” and
12
     “Fernando”(using pseudonyms) were subject to vehicular stops by Border Patrol without reasonable
13
     suspicion that they violated a law Border Patrol has the authority to enforce. See Compl. at 33-36.
14
15 Meanwhile, UFW alleges member Jesus Ramirez was subject to pedestrian stop at a day labor gathering
16 spot without reasonable suspicion. See Compl. at 37. They allege that in each of these separate stops,
17 Border Patrol did not assess flight risk before arresting them for unlawful presence without a warrant.
18 See Compl. at 33, 38. And in particular to “Benjamin” and “Carlos,” UFW alleges that Border Patrol
19
     coerced them into accepting voluntary return by, among other things, displaying weapons when they
20
     indicated they wanted to see an immigration judge rather than voluntarily depart and then presenting
21
     them only with a small digital screen to sign. See Compl. at 34. Which, Plaintiffs claim, prejudiced
22
23 “Benjamin” and “Carlos” because they had a “plausible claim to contest removal.” Compl. at 62, ¶ 319.
24 These are all specific fact patterns requiring “individualized proof[s] regarding whether the agents
25 engaged in unlawful conduct and whether these facts demonstrate a pattern or practice sufficient to
26
27
28
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 1 justify equitable relief. Therefore, the participation of UFW’s members in this lawsuit is indispensable.4
 2           The Ninth Circuit’s decision in Spindex Physical Therapy USA is instructive. In that case, a
 3 nonprofit association of chiropractors sought declaratory and injunctive relief against a healthcare
 4
     company for refusing to pay for certain therapies. 770 F.3d at 1292. The court found that differences in
 5
     treatment and payment issues among members meant the claims could not be resolved without
 6
     individual participation, and thus the association lacked standing. Id. at 1292–93. The court emphasized
 7
 8 that such claims were not akin to “systemic policy violations” that could be adjudicated without
 9 member-specific involvement. Id. at 1293. The same principle applies here. There are significant
10 variations alleged by Plaintiffs regarding the Border Patrol agents’ alleged wrongful conduct during
11
     process at the El Centro Sector Central Processing Center. Compare ECF No. 15-8, Espinosa Decl. at ¶¶
12
     14-17 (alleging the Border Patrol agent did not permit her to change her mind about accepting voluntary
13
     departure) with ECF No. 15-6, Mendez Decl. at ¶ 18 (alleging the Border Patrol agent threatened him
14
15 with “months or years” in prison); and with ECF No. 15-3 Elizabeth Strater Decl. at ¶ 32 (alleging that
16 that two of its members were threatened with guns). And there may be significant variations in their
17 eligibility for relief, if any at all. See 8 U.S.C. § 1229b(b).
18           Moreover, Plaintiff UFW plainly fails to satisfy the requirements for associational standing on
19
     Claim IV—the voluntary departure claim—because it does not identify even a single member by name
20
     who would have standing to assert such a claim individually. The Supreme Court has made clear that to
21
     establish associational standing, an organization must “name the individuals . . . harmed by the
22
23 challenged . . . program,” and cannot rely on statistical probabilities. Summers v. Earth Island Institute,
24 555 U.S. 488, 498 (2009). While the Ninth Circuit has allowed pseudonyms to be used by organizations
25
     4
26   Additionally, the participation of UFW members “Benjamin” and “Carlos” is also required to
   determine whether they “had a plausible basis to contest their removal” and therefore can appropriately
27 represent the voluntary departure class. Compl. at 62, ¶¶ 319. The facts in the complaint alone which do
   not dispute their lack of lawful status do not explain why they had such a basis and can represent the
28 class.
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 1 where it is not necessary to defend against the organization’s claims. Mi Familia Vota v. Fontes, 129
 2 F.4th 691, 708-09 (9th Cir. 2025), it is necessary here—as explained supra—to determine Plaintiffs’
 3 claims. See Do No Harm v. Pfizer, Inc, 96 F.4th 106, 116 (2d Cir. 2024) (“[a] member’s name does not
 4
     merely check a box; it is a demonstration of the sincerity of the member’s interest in applying,” a
 5
     “quintessential Article III standing concern[].”). Specifically, with regard to Plaintiffs’ voluntary
 6
     departure claim, Defendants require the real names of UFW’s allegedly injured members in order to
 7
 8 address whether these members (1) have a plausible basis to contest removal and (2) whether they
 9 unknowingly and involuntarily waived his or her rights to a removal proceeding due to a coercive
10 environment beyond the applicable procedures – that is, Defendants require the members’ identities to
11
     defend against Plaintiff UFW’s claims.5
12
              In sum, Plaintiffs lack standing because individualized issues dominate and will necessarily
13
     require the participation of its members. Additionally, Plaintiffs attempt to base its standing on unnamed
14
15 individuals—despite the fact that those same individuals would not be permitted to proceed
16 anonymously if they were bringing claims on their own behalf. Do No Harm, 96 F.4th at 117.
17 C.         This Court Should Dismiss the Complaint Because Plaintiffs’ Claims Are Moot.
18            1. The Reasonable Suspicion and Voluntary Departure Musters Issued by USBP Render
19               Plaintiffs’ Entire Complaint Moot.

20            Even if Plaintiffs could establish that they have suffered a sufficient injury to confer standing to

21 seek prospective equitable relief, Plaintiffs’ claims fail because they are moot. Collectively, Plaintiffs
22 seek relief to remedy —via declaratory and injunctive relief —what they perceive to be a policy, pattern
23
24
     5
         The fact that Summers involved an appeal from summary judgment, rather than a Rule 12(b)(1)
25 motion, does not excuse Plaintiffs’ failure to name an injured member. Although the Supreme Court has
26 noted that “the manner and degree of evidence [of standing] required at the successive stages of the
   litigation” may vary, Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992), Defendants do not argue that
27 Plaintiff UFW has submitted insufficient evidence. Rather, Defendants argue that, even taking Plaintiff
   UFW’s allegations as true, it does not allege an essential piece of information: the name of an injured
28 member. Should the Court disagree, Defendants reserve reiterating this argument later in proceedings.
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 1 or practice of violating the Fourth and Fifth Amendment and § 1357. But USBP has already issued
 2 multiple new guidance Musters affirming their commitment to following the law in precisely the ways
 3 Plaintiffs seek, which renders Plaintiffs’ Complaint moot. Rosebrock v. Mathis, 745 F.3d 963, 971 (9th
 4
     Cir. 2014) (“A case becomes moot - and therefore no longer a ‘Case’ or ‘Controversy’ for purposes of
 5
     Article III -when the issues presented are no longer “live” or the parties lack a legally cognizable interest
 6
     in the outcome”) (internal citations omitted).
 7
 8          Plaintiffs’ claims I-III concerning stops and arrests are moot because, on April 4, 2025, USBP

 9 issued a Muster and ordered training recommitting to consistent enforcement of Fourth Amendment
10 protections and protections under 8 U.S.C. 1357(a)(2). See Exs. A, D (Decl. of Sergio Guzman). This
11
     Muster discusses traffic stops and reasonable suspicion, factors to consider when assessing flight risk,
12
     and how agents should document the facts and circumstances surrounding a warrantless arrest in an
13
     alien’s Form I-213 as soon as practicable. See Ex. A; see also Compl. at 53, ¶ 278 (stating USBP should
14
15 provide its officers guidance on the requirement for reasonable suspicion for traffic stops in the interior,
16 away from the border, and guidance on assessing flight risk using factors such as “family, home, or
17 employment,” that is, community ties). And USBP commits to continuing training until all agents are
18 trained. Ex. D, (Decl. of Sergio Guzman). at ¶¶ 10-16. Moreover, on June 27, 2025, following the
19
     Court’s April 29, 2025, order, USBP issued a second Muster discussing factors to consider when
20
     assessing reasonable suspicion in all contexts, not just vehicle stops; that an individual’s refusal to
21
     answer questions does not, by itself, constitute reasonable suspicion; and that in areas where Hispanic
22
23 individuals are common, an individual’s apparent Hispanic race or ethnicity is not a relevant factor for
24 reasonable suspicion. See Ex. B.
25          Plaintiffs’ Fifth Amendment due process claim (Claim IV) is also moot. Plaintiffs allege that,
26 during Operation Return to Sender, Border Patrol agents engaged in a pattern of processing arrested
27
     individuals for voluntary departure without obtaining a knowing and voluntary waiver of their right to
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 1 removal proceedings before an immigration judge, in violation of the Fifth Amendment. See Compl. at
 2 3-4, 44-45, 67-68, ¶¶ 9, 242-44, 346-50. Named Plaintiffs Espinosa and Mendez describe how Border
 3 Patrol agents presented them with a small digital device showing only a signature page, how they were
 4
     not permitted to touch the digital device or see other pages of the document, and how they were not
 5
     otherwise provided with physical copies of the documents that they were digitally signing. See Compl.
 6
     at 4, 31, 34, 44, ¶¶ 11, 151-52, 176, 243; ECF No. 15-8, Espinosa Decl. at ¶¶ 17-18; ECF No. 15-6,
 7
 8 Mendez Decl. at ¶ 19. They also claim that Border Patrol agents did not orally explain voluntary
 9 departure and its consequences to them in Spanish. ECF No. 15-8, Espinosa Decl. ¶¶ 18-21; ECF No.
10 15-6, Mendez Decl. at ¶¶ 19-20. These allegations form the basis of Plaintiffs’ policy and practice claim.
11
             On July 11, 2025, USBP issued a Voluntary Return Muster recommitting to consistently
12
     informing aliens of their right to a hearing before an immigration judge and the consequences of
13
     alternatively choosing to voluntarily depart, which renders Plaintiffs Fifth Amendment claim (Claim IV)
14
15 moot. The VR muster explains that Border Patrol agents must provide aliens with an opportunity to read
16 the Notice of Rights and Advisals on the Form I-826, which advises an alien of the consequences of
17 accepting voluntary return. Id. The VR Muster also states that, where an agent goes over the Form in
18 digital format, the agent should also provide the alien with a physical copy of the Form, in both English
19
     and Spanish. Id. Agents should also document adherence to the proper procedures in the Form I-213
20
     Record of Deportable/Inadmissible Alien. Id. The purpose of the VR Muster is to ensure the alien has
21
     made a knowing, voluntary, and intelligent waiver of their right to removal proceedings and election of
22
23 voluntary return. Id. That is, this guidance ensures that, to the extent Plaintiffs’ claims are true, they will
24 not reoccur in the future thereby rendering Plaintiffs’ claims moot. Espinoza v. Union of Am. Physicians
25 & Dentists, 2023 WL 6971456, at *2 (9th Cir. Oct. 23, 2023) (“Where circumstances change after
26 commencement of a suit such that the wrongful behavior is no longer likely to recur against the plaintiff
27
28
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 1 . . . ‘his claims for prospective relief [become] moot . . .’”) (citing Slayman v. FedEx Ground Package
 2 Sys., Inc., 765 F.3d 1033, 1048 (9th Cir. 2014).
 3          2. The Voluntary Cessation Doctrine Does Not Preserve this Court’s Jurisdiction.
 4
            Because USBP has committed to strictly adhere to an existing policy of consistent law
 5
     enforcement within this circuit, the voluntary cessation doctrine renders this case moot. “The voluntary
 6
     cessation of challenged conduct does not ordinarily render a case moot because a dismissal for mootness
 7
 8 would permit a resumption of the challenged conduct as soon as the case is dismissed.” Rosebrock, 45
 9 F.3d at 971. Consequently, the party asserting mootness bears a “heavy burden.” Id. When that party is
10 the government, however, it is presumed the government acts in good faith. Id. The government “still
11
     must bear the heavy burden of showing that the challenged conduct cannot reasonably be expected to
12
     start up again,” but the particular type of voluntary cessation impacts the strength of the presumption
13
     and the necessity of procedural safeguards against recurrence. Id. at 971-74. Where, as here, the
14
15 “Government’s ‘voluntary cessation’ is more aptly described as reemphasizing, or recommitting to, an
16 existing policy of consistent enforcement of longstanding regulation” or law, rather than a change in
17 policy, this is a “distincti[ve]” context where the presumption of good faith “is at an apex,” as concerns
18 regarding recurrence present in other contexts are “not present here.” Id. 973 (citing Am. Cargo Transp.,
19
     Inc. v. U.S., 625 F.3d 1176, 1180 (9th Cir. 2010), and White v. Lee, 227 F.3d 1214, 1244 (9th Cir.
20
     2000)); Freedom from Religion Found., Inc. v. Orange Cnty. Sch. Bd., 30 F.Supp.3d 1358, 1364 (M.D.
21
     Fla. 2014) (recognizing that “a voluntary cessation more aptly described as reemphasizing, or
22
23 recommitting to, an existing policy of consistent enforcement of a longstanding regulation,” rather than
24 “a policy change[,]” is a “distinct[]” type of voluntary cessation) (quoting Rosebrock, 745 F.3d at 973)),
25 aff’d, 610 F. App’x 844 (11th Cir. 2015). “Consequently, when the Government has “recommit[ted] to a
26 preexisting policy in favor of consistent[] enforce[ment],” where the presumption of good faith is
27
     “especially strong,” the Government can meet its “heavy burden” of mootness without having to satisfy
28
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 1 “procedural safeguards” against recurrence or “the ease of changing course.” Id. at 973-74 (internal
 2 citations omitted).
 3          Here, USBP’s response to Plaintiffs’ claims is on all fours with the Court’s conclusions in
 4
     Rosebrock. Border Patrol agent trainees are provided over 100 hours of legal instruction at the United
 5
     States Border Patrol academy, which includes training on stops under the Fourth Amendment and
 6
     warrantless arrests under 8 U.S.C. § 1357(a)(2). See Ex. E (Eduardo Cantu Decl.) at ¶¶ 4-5. Plaintiffs
 7
 8 allege that Border Patrol agents nonetheless engaged in a pattern of violating the Fourth Amendment,
 9 8 U.S.C. § 1357(a)(2), and 8 C.F.R. § 287.8 (implementing the Fourth Amendment and 8 U.S.C.
10 § 1357). In response, Border Patrol El Centro Sector has issued Musters broadcasting the law applicable
11
     to assessing reasonable suspicion and for assessing flight risk under § 1357(a)(2), as well as the need to
12
     document the reasons for these stops and arrests as soon as practicable, and is training its approximately
13
     900 agents on the Musters. Exs. A, B, C. Similarly, in response to Plaintiffs’ Fifth Amendment claims,
14
15 USBP has issued a Muster ensuring compliance with the Fifth Amendment in the way it obtains a
16 knowing and voluntary waiver of rights through the Form I-826. Indeed, to ensure compliance with the
17 law and to assuage Plaintiffs’ concerns, USBP has instructed officers on best practices that should
18 preclude the very allegations in this suit.
19
          These actions do not establish new policies; rather, they demonstrate USBP’s commitment to
20
     remedy any prior ‘inconsistent enforcement’ and to strictly adhere to an existing policy of consistent law
21
22 enforcement within this circuit. Rosebrock, 745 F.3d at 973-74 (internal citation omitted). And because
23 the presumption of good faith is “especially strong” in this distinct type of voluntary cessation, the
24 USBP can meet its “heavy burden” of mootness without having to satisfy “procedural safeguards”
25 against recurrence or “the ease of changing course.” 6 Id. at 974 (explaining that, “in light of the
26
27   6
     The court in Rosebrock “[n]onetheless” analyzed five factors applicable to mootness in other contexts
28 to assess whether the voluntary cessation was “procedurally protected” from recurrence. 745 F.3d at

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 1 presumption” applicable to the distinct type of voluntary cessation where an agency recommits to
 2 preexisting law, the government can meet its “heavy burden of demonstrating mootness” without having
 3 to satisfy “procedural safeguards or the ease of changing course”) (emphasis added) (citing Bell v. City
 4
     of Boise, 709 F.3d 890, 900-01 (9th Cir. 2003)); Watson v. Crumbl LLC, 736 F. Supp. 3d 827, 839 (E.D.
 5
     Cal. 2024) (where the court found Plaintiff’s Complaint moot given that the Defendant voluntarily
 6
     ceased the conduct at issue and the exception to mootness did not apply even where the government was
 7
 8 not a party).
 9 D.       Plaintiffs’ Voluntary Departure Claim (Claim IV) Fails Because They Have Not
            Established a Liberty Interest Nor Have They Demonstrated Prejudice.
10
            Plaintiffs have not demonstrated that they have a constitutionally protected liberty interest to
11
12 remain in the United States, and thus their Fifth Amendment due process claim necessarily fails.
13 “[I]mmigration proceedings must conform to the Fifth Amendment’s due process requirement.” Lacsina
14 Pangilian v. Holder, 568 F.3d 708, 709 (9th Cir. 2009). However, “[t]o bring a successful procedural
15
     due process claim, a plaintiff must point to (1) the deprivation of a constitutionally protected liberty or
16
17
18 973. But this was not essential to its holding, as ultimately the court concluded by reiterating the
     “especially strong” presumption of good faith applicable in cases where the Government is
19 “recommitting to consistent enforcement of one of its own longstanding regulations” or laws, rather than
20 changing policy, and how mootness in this context does not require a demonstration of procedural
     safeguards against recurrence. Id. at 974. In any event, the Musters are “broad in scope and unequivocal
21   in tone.” Id. at 972. The Musters broadly apply to all El Centro Border Patrol agents that are the subject
     of the complaint, United States v. Sineneng-Smith, 590 U.S. 371, 375 (2000) (following “the principle of
22   party presentation[,]” courts “rely on the parties to frame the issues for decision” and should not assume
     a larger problem), and states that Border Patrol agents “should” document the facts of an arrest as soon
23   as practicable, see Regents of the Univ. of California v. U.S. Dep’t of Homeland Sec., 908 F.3d 476, 502
24   (9th Cir. 2018) (the term “‘should’ is fully capable of expressing obligation or necessity”) (citing
     Garner’s Dictionary of Legal Usage (3d ed. 2011)), rev’d in part, vacated in part sub nom. Regents, 591
25   U.S. 1); Brackeen v. Haaland, 994 F.3d 249, 430-31 (5th Cir. 2021) (“the term ‘should’ often ‘create[s]
     mandatory standards”) (quoting Garner’s Dictionary of Legal Usage (3d ed. 2011)). The Musters also
26   fully address all the objectionable stops and arrests allegedly perpetrated by Border Patrol during
     Operation Return to Sender. See Rosebrock, 745 F.3d at 972. That is, the Musters discuss reasonable
27   suspicion requirements in all contexts and discuss factors to assess for flight risk. Exs. A-B, D
28   Moreover, the first Muster has been in place since April 2025, and Border Patrol El Centro Sector has
     not engaged in any alleged similar conduct since Operation Return to Sender. Id.
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 1 property7 interest.” Gebhardt v. Nielsen, 879 F.3d 980, 988 (9th Cir. 2018). Thus, it is insufficient to
 2 allege a denial of adequate procedural protections alone. Id.; Ibarra-Flores v. Gonzales, 439 F.3d 614,
 3 620–21 (9th Cir. 2006); Moran v. Godinez, 57 F.3d 690, 698 (9th Cir. 1995) (“[P]rocess is not an end in
 4
     itself. Its constitutional purpose is to protect a substantive interest to which the individual has a
 5
     legitimate claim of entitlement”). In order to demonstrate a valid liberty interest, Plaintiffs must show an
 6
     entitlement to a constitutionally protected interest, not a mere desire for it. See Chen v. U.S. I.N.S., 105
 7
 8 F. App’x 214, 215 (9th Cir. 2004); see also Board of Regents v. Roth, 408 U.S. 564, 577 (1972).
 9             Here, Plaintiffs have failed to show that they possess a constitutionally protected liberty interest
10 in remaining in the United States, so their Fifth Amendment due process claim must fail. Notably,
11
     Plaintiffs’ Complaint does not adequately allege any entitlement to a liberty interest or protection from
12
     removal. Had they claimed a right to relief from removal, they would need to establish a plausible
13
     entitlement to mandatory, rather than discretionary, relief. Calleja Leyva v. Gonzales, 215 F. App’x 582,
14
15 583 (9th Cir. 2006) (“aliens have no fundamental right to discretionary relief from removal for purposes
16 of due process”); Mendez-Garcia v. Lynch, 840 F.3d 655, 669 (9th Cir. 2016) (quoting Hyuk Joon Lim v.
17 Holder, 710 F.3d 1074, 1076 (9th Cir. 2013) (“Discretionary immigration relief gives rise to no
18 ‘substantive interest protected by the Due Process Clause.’”)); Cevilla v. Gonzales, 446 F.3d 658, 662
19
     (7th Cir. 2006) (finding no liberty interest in cancellation of removal, even if all statutory requirements
20
     are satisfied”). It is undisputed that Plaintiffs Mendez and Espinosa, who are the Plaintiffs named in the
21
     voluntary departure claim (Claim IV), lack legal status in the United States and are, therefore,
22
23 removable. See Compl. at ¶¶ 103-64; ECF No. 15-8, Espinosa Decl. at ¶¶ 2-3; ECF No. 15-6, Mendez
24 Decl. at ¶¶ 2-3. Plaintiffs have also not shown that UFW are not removable. Consequently, Plaintiffs
25
26
     7
         In the immigration context, a deprivation of a property interest is rarely asserted in a Fifth Amendment
27 due process claim, and Plaintiffs do not allege a depravation of property. Thus, Defendants’ Motion to
   Dismiss focuses on whether a liberty interest exists.
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 1 have not alleged in their Complaint that they are plausibly entitled to any mandatory relief from removal
 2 such as Withholding, protection under the Convention against Torture, or a right or privilege of
 3 citizenship. See 8 U.S.C. § 1231(b)(3); see also C.F.R. § 208.16(d)(1). For this reason, their voluntary
 4
     departure claim (Claim IV) must fail.
 5
            Even if Plaintiffs had established a liberty interest—which they have not—they would still need
 6
     to demonstrate prejudice in order to prevail on their Fifth Amendment due process claim. See e.g.,
 7
 8 Lacsina Pangilinan, 568 F.3d 708, 709 (9th Cir. 2009) (explaining that in order to prevail on a due
 9 process claim “the alien [must] demonstrates prejudice, which means that the outcome of the proceeding
10 may have been affected by the alleged violation. (internal quotations and citations omitted). Specifically,
11
     Plaintiffs “must present ‘plausible scenarios in which the outcome of the proceedings would have been
12
     different’ if a more elaborate process were provided.” Morales-Izquierdo v. Gonzales, 486 F.3d 484, 495
13
     (9th Cir. 2007) (en banc) (quoting Walters v. Reno, 145 F.3d 1032, 1044 (9th Cir.1998); see also
14
15 Zolotukhin v. Gonzales, 417 F.3d 1073, 1077 (9th Cir. 2005) (prejudice requires a showing “that the
16 outcome of the proceeding may have been affected by the alleged violation.”) (internal quotations and
17 citations omitted). In the context of abbreviated removal procedures—like voluntary departure—the
18 alien must demonstrate that they had a “plausible ground for relief” to demonstrate prejudice arising
19
     from the lack of formal removal proceedings. Padilla v. Ashcroft, 334 F.3d 921, 924-25 (9th Cir. 2003);
20
     see Compl. at ¶ 319(defining class by aliens who have a “plausible basis to contest their removal”).
21
            Here, Plaintiffs have not plausibly alleged that the outcome in their removal proceedings would
22
23 have been different if Defendants afforded them a “more elaborate process” prior to their voluntary
24 return. See Morales-Izquierdo, 486 F.3d at 495. That is, they have not alleged a “plausible ground for
25 relief” from removal. See Padilla, 334 F.3d at 924-25. Rather, Plaintiffs vaguely assert “Border Patrol
26 did not inform people in their custody of the penalties that voluntary departure carries, including a three-
27
     or ten-year period of “inadmissibility” for reentry to the United States, either verbally or in writing. See
28
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 1 8 U.S.C. § 1182(a)(9)(B)(i)(I)–(II).” See Compl. at ¶ 243. However, in order to prove prejudice,
 2 Plaintiffs would have to show that they would not have been subjected to the three- or ten-year
 3 inadmissibility bar if their due process rights had not been violated. Thus, because Plaintiffs have not
 4
     alleged that they would have been entitled to some mandatory form of relief that would have prevented
 5
     them from being subject to the three- or ten-year period of “inadmissibility,” they cannot show
 6
     prejudice, and their Fifth Amendment due process claim still fails. Hussain, 985 F.3d at 645 (“To prevail
 7
 8 on a due process challenge to deportation proceedings, [the petitioner] must show [both] error and
 9 substantial prejudice.”) (quoting Grigoryan v. Barr, 959 F.3d 1233, 1240 (9th Cir. 2020)).
10 E.        Alternatively, this Court Should Dismiss Plaintiffs’ Complaint Under Rule 12(b)(6)
             Because None of the Three Classes Can Be Certified.
11
12           Courts may dismiss or strike a class at the pleading stage, in advance of a motion for

13 certification, if the Complaint demonstrates the proposed class is facially defective. Vinol., 571 F.3d at
14 942 (“District courts have broad discretion to control the class certification process, including whether
15 discovery is needed”); In re Wal-Mart Stores, Inc. Wage & Hour Litig., 505 F. Supp. 2d 609, 615 (N.D.
16 Cal. 2007) (“dismissal of class allegations at the pleading stage should be done rarely”); In re Walls, 262
17 B.R. 519, 524 (Bankr. E.D. Cal. 2001) (reviewing a motion to deny class certification based on the
18 pleadings, prior to discovery, as a Rule 12(b)(6) motion to dismiss); Tirado v. Victoria's Secret Stores,
19 LLC, 2025 WL 859878, at *3-4 (E.D. Cal. Mar. 19, 2025) (“Rule 12 motions seeking to dismiss or
20 strike class allegations are common enough, in fact, that federal courts have often been asked to decide
21 whether to entertain the question at the pleadings stage or to defer the issue until the plaintiffs seek class
22 certification”). The pleadings alone will “often” fall short of showing whether claims can be certified
23 for class litigation. Vinole, 571 F.3d at 942. But a complaint must have some “factual support” beyond
24 a bare assertion that the plaintiffs bring claims on behalf of a class. Zamora v. Penske Truck Leasing
25 Co., L.P., 2021 WL 809403, at *3 (C.D. Cal. Mar. 3, 2021). “[I]f a class action omplaint could survive a
26 motion to dismiss based merely on the need for class discovery, then many, if not all, class action
27 complaints would have expansive class allegations and definitions to permit a fishing expedition during
28 discovery.” Flores v. Starwood Hotels & Resorts Worldwide, Inc., 2015 WL 12912337, at *4 (C.D. Cal.
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 1 Mar. 16, 2015). Thus, when the problem with the class allegations is “facially evident, it makes sense to
 2 address the issue early on.” Baton v. Ledger SAS, 740 F. Supp. 3d 847, 883 (N.D. Cal. 2024).
 3            1. The Suspicionless Stop and Warrantless Arrest Classes Are Fatally Overbroad

 4            Section 1252(b)(9) bars district court review of challenges to “an order of removal, the decision to
 5 seek removal, or the process by which removability will be determined.” Dep’t of Homeland Security Sec.
 6
     v. Regents of the Univ. of California, 591 U.S. 1, 19 (2020) (citing Jennings v. Rodriguez, 583 U.S. 281,
 7
     293 (2018)). These claims are instead reviewed exclusively through administrative process and a petition
 8
     for review filed in the appropriate court of appeal. Jennings, 583 U.S. at 294; 8 U.S.C. § 1252(a)(5).
 9
     8
10       Fourth Amendment claims alleging race-based stops by immigration authorities prior to removal

11 proceedings are reviewed as part of the removal process. Sanchez v. Sessions, 904 F.3d 643, 649-54 (9th
12 Cir. 2018) (addressing a Fourth Amendment challenge, and challenge under 8 C.F.R. § 287.8(b)(2), based
13
     on an alleged race-based stop arising prior to removal proceedings, with remedy being either suppression
14
     or termination without prejudice of removal proceedings); Rajah v. Mukasey, 544 F.3d 427 (2d Cir. 2008)
15
     (hearing four tandem petitions for review alleging a pattern of Fourth and Fifth Amendment violations
16
17 prior to removal proceedings). Indeed, in Sanchez, the Ninth Circuit asserted it had jurisdiction over the
18 alien’s Fourth Amendment claim as a challenge to removability appropriately brought in a petition for
19 review. 904 F.3d at 649 (“Sanchez timely petitioned us for review” and “[w]e have jurisdiction over final
20 orders of removal pursuant to 8 U.S.C. § 1252”). That the claimed violations occurred prior to the initiation
21
     of proceedings did not matter. The stop and arrest were part of the removal process and considered by the
22
     immigration judge—indeed, the Ninth Circuit could not have asserted jurisdiction under 8 U.S.C. § 1252
23
24
25
     8
     Pursuant to 8 U.S.C. § 1252(b)(9), “[j]udicial review of all questions of law and fact, including
26 interpretation and application of constitutional and statutory provision, arising from any action taken or
   proceeding brought to remove an alien from the United States under this subchapter shall be available
27 only in judicial review of a final [removal] order.” And a petition for review filed in the appropriate
     court of appeals is the “sole and exclusive means for judicial review” of a final removal order. 8
28 U.S.C.§ 1252(a)(5).
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 1 otherwise. And the courts of appeal have “exclusive” jurisdiction over any challenge to the removal
 2 process. Jennings, 583 U.S. at 293; 8 U.S.C. § 1252(a)(5).
 3            It is undisputed that, just like the alien in Sanchez, named Plaintiffs Cisneros and Esquivel were
 4
     issued Notices to Appear because of their stops and arrests and placed in removal proceedings. See
 5
     Complaint at ¶¶ 63-65, 84-86; Cisneros Declaration ¶¶ 4-6, 17-18; Esquivel Declaration ¶¶ 17-18; Tr. Arg.
 6
     at 36. Also like the alien in Sanchez, Plaintiffs Cisneros and Esquivel claim that their stops were race-
 7
 8 based Fourth Amendment violations and violations of 8 C.F.R. § 287.8(b)(2). Compl. at ¶¶ 3, 285, 289.
 9 And just like the alien in Sanchez, these claims are challenges to their removal process and are exclusively
10 the subject of administrative proceedings and a petition for review filed in the court of appeals. . It is,
11
     therefore, incorrect to assert that (1) unlike Sanchez, no Plaintiffs challenge part of the removal process,
12
     and (2) Sanchez leaves open whether “an immigration court was the exclusive forum for [Sanchez’s]
13
     claims.” United Farm Workers, 2025 WL 1235525, at *17. And the Suspicionless Stop and Warrantless
14
15 Arrest Classes are, therefore, impermissibly overbroad because they include claims by individuals over
                                      9
16 which the court lacks jurisdiction. Gonzalez v. United States Immigr. & Customs Enf’t, 975 F.3d 788,
17 810 (9th Cir. 2020) (assessing whether 8 U.S.C. § 1252(b)(9) precluded the district court’s “jurisdiction
18 over the claims of noncitizen claims members” and, therefore, precluded class certification due to
19
     atypicality with the citizen class representative) (citing Pruell v. Caritas Christi, 645 F.3d 81, 84 (1st Cir.
20
     2011) (where the “district court [does not] ha[ve] jurisdiction over the claim of the class representative . .
21
22
23
     9
         The administrative process can similarly consider a pre-removal proceeding violation under 8 U.S.C. §
24 1357(a)(2). The First Circuit has suggested that, if Fourth Amendment violations can result in
     termination of removal proceedings, a similar statutory violation under 8 U.S.C. § 1357(a)(2) would
25 provide the same relief. Westover v. Reno, 202 F.3d 475, 479-80 (1st Cir. 2000). The First Circuit
26 ultimately held termination of removal proceedings was not an available remedy for Fourth Amendment
   violations, but this was before Sanchez and, indeed, the court relied upon caselaw that predated the
27 promulgation   of regulations implementing 8 U.S.C. § 1357. Compare Westover, 202 F.3d at 480 (citing
   Katris v. INS, 562 F.2d 886, 869 (2d Cir. 1977)) with Sanchez, 908 F.3d at 651 (relying on the
28 promulgation of 8 C.F.R. § 287.8 in 1994). In any event, the Suspicionless Stop class is overbroad.
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 1 . it ha[s] no jurisdiction over the class action either even if the claims of some of the members of the class
 2 were within its jurisdiction”).
 3             This overbreadth is moreover not de minimus. Olean Wholesale Grocery Coop., Inc. v. Bumble
 4
     Bee Foods LLC, 31 F.4th 651, 669 (9th Cir. 2022). The majority of the named Plaintiffs are in removal
 5
     proceedings and able and therefore must bring their Fourth Amendment claim in removal proceedings.
 6
     See Compl. at ¶¶ 200-01, 229-30. This Court lacks jurisdiction over these named Plaintiffs and
 7
 8 corresponding members of the proposed class’ claims. This overbreadth is “fatal” to certification. Olean,
 9 31 F.4th at 669 n.14. And even if not fatal, the classes require redefinition to exclude aliens in removal
10 proceedings, which seems likely to render them insufficiently numerous for purposes of Rule 23(a)(1).
11
     See Gonzalez, 975 F.3d at 810 (8 U.S.C. § 1252(b)(9) did not bar a “Probable Cause Subclass” because it
12
     was “defined to exclude individuals against whom there is a final order of removal as well as any
13
     individual subject to ongoing removal proceedings”) (emphasis in original).
14
15             Regents, 140 S. Ct. 1891, is not to the contrary. United Farm Workers, 2025 WL 1235525, at *18-

16 19. Regents simply reiterates that 8 U.S.C. § 1252(b)(9) “does not present a jurisdictional bar where those
17 bringing suit are not asking for review of an order of removal, the decision to seek removal, or the process
18 by which removability will be determined.” 591 U.S. at 19 (citing Jennings, 583 U.S. at 293) (internal
19
     quotations omitted). Sanchez states that challenging an unlawful stop that results in initiation of removal
20
     proceedings challenges the removal process and, pursuant to Regents, 8 U.S.C. § 1252(b)(9) is, therefore,
21
     a bar to district court review. Regents moreover involved a procedural challenge to the recission of the
22
23 Deferred Action for Child Arrivals (“DACA”) program and did not involve anyone in removal
24 proceedings or any part of the removal process—it was a programmatic challenge. 10 Regents, 591 U.S. at
25
26
     10
          It makes sense, then, that the courts of appeal continue to consider Fourth Amendment challenges, or
27 other alleged violations occurring prior to initiation of removal proceedings, without consideration of
28 Regents. Medley v. Garland, 71 F.4th 35, 40-50 (2d Cir. 2023); Aguayo v. Garland, 78 F.4th 1210,
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 1 10-16; Regents of Univ. of California v. United States Dep’t of Homeland Sec., 279 F. Supp. 3d 1011, 1027
 2 (N.D. Cal. 2018) (discussing individual plaintiffs). Meanwhile, it is not for plaintiffs Cisneros and
 3 Esquivel to decide whether their claims are “challenging any removal proceedings” and pick their
 4
     preferred forum. Regents, 591 U.S. at 19. They are in removal proceedings and their race-based Fourth
 5
     Amendment claims, in fact, challenge part of their removal process and their forum is, consequently,
 6
     administrative process and the court of appeal, per Sanchez. 11
 7
 8            Therefore, because the proposed Suspicionless Stop and Warrantless Arrest classes include

 9 individuals in removal proceedings whose claims are barred from the court’s review by §§ 8 U.S.C.
10 1252(a)(5) and (b)(9), these classes should be dismissed as fatally overbroad.
11
              2. The Voluntary Departure Class Facially Requires Individualized Analysis that Precludes
12               Certification.

13            For the same reasons discussed supra (§ “B”) the Court should dismiss Plaintiffs’ Voluntary
14 Departure Class allegations because the face of the Complaint reveals that individual issues predominate
15 over common ones. CSE Safeguard Ins. Co. v. Hyundai Motor Am., 2024 WL 1832423, at *2-3 (C.D.
16 Cal. Jan. 12, 2024) (class allegations which, on their face, are “riddled with individualized questions
17 defeat[s] predominance” under Fed. R. Civ. P. 23(b)(3) and can be struck on the pleadings) (citing
18 Pilgrim v. Universal Health Card, LLC, 660 F.3d 943, 947 (6th Cir. 2011)). It is impossible to determine
19 “in one stroke” (1) whether each class member was coerced into voluntary departure and (2) whether
20 each class member has a” plausible basis to contest removal.” See Wal-Mart Stores, Inc. v. Dukes, 564
21 U.S. 338, 349 (2011); CSE Safeguard Ins. Co., 2024 WL 1832423, at *2 (class allegations should be
22 dismissed at the pleading stage only if an action cannot “possibly proceed on a classwide basis”);
23
     1216-21 (10th Cir. 2023); Leal-Burboa v. Garland, No. 21-70279, 2022 WL 17547799 (9th Cir. 2022)
24
     (alleged race-based stop challenged in removal proceedings).
25
     11
          Indeed, there can be little doubt that Cisneros and Esquivel will bring the same Fourth Amendment
26 and Warrantless arrest claims before the immigration judge – perhaps even the same allegations of a
   pattern or practice of unlawful stops and arrests, for nothing in 8 U.S.C. § 1252 exempts pattern or
27 practice claims from its jurisdictional provisions and, in Rajah, 544 F.3d at 432, four aliens requested the
     Second Circuit hear their petitions for review in tandem in order to allege a pattern of Fourth and Fifth
28 Amendment violations (although the court ultimately rejected the claims on the merits).
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 1 Compl. at ¶ 319. “[N]o amount of discovery” will overcome the individualized question of whether class
 2 members are have a plausible basis to contest relief. Pilgrim, 660 F.3d at 949. Accordingly, because
 3 individualized questions predominate, the Court should dismiss the Voluntary Departure Class
 4 allegations on the pleadings. CSE Safeguard Ins. Co., at *3.
 5
                                                CONCLUSION
 6
            For the foregoing reasons, the Court should dismiss Plaintiffs’ Complaint under Rule 12(b)(1)
 7
 8 and Rule 12 (b)(6).
 9
     Dated: July 14, 2025                                         Respectfully submitted
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 1                                                                Attorneys for Defendants

 2
 3
 4                                       CERTIFICATE OF SERVICE

 5          On July 14, 2025, I electronically submitted the foregoing document with the Clerk of Court for

 6 the U.S. District Court, Eastern District of California, using the electronic case filing system of the
 7 court. I hereby certify that I have served counsel of record electronically through the Court’s filing
 8 system.
 9                                                        s/Carolyn Dillard
                                                          Carolyn Dillard
10                                                        Trial Attorney
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     MOTION TO DISMISS
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